Case: 23-1507    Document: 42 Page:
         Case 1:20-cv-11313-WGY     1 Date
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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________
 No. 23-1507

                           JIAJING (BEIJING) TOURISM CO., LTD.,

                                       Petitioner, Appellee,

                                                v.

       AEROBALLOON USA, INC.; DOUGLAS A. HASE; EVEREST BALLOON LLC,

                                    Respondents, Appellants,

                               TETHERED HELIUM BALLOON,

                                          Respondent.
                                      __________________

                                          JUDGMENT

                                   Entered: February 22, 2024

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

          Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 district court's judgment is affirmed. Costs are awarded to Jiajing (Beijing) Tourism Co., Ltd.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


 cc: Lee A. Harrington, Richard L. Blumenthal, Marc Redlich
